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                                                                                                                                    Generated:   05/03/2017
    AOC-S-105 Sum Code: Cl                                                                                       CasoNumber   17-CI-00172
    Rev. 7.99
                                                                                                                      Court CI
    Commonwealth or Kentucky                                                                                         County BELL
    Court of Justice
    CR 4,02; Cr Official Form I




             CORPORATION, SMITHPIELD PARMLAND
             SERVE: CT CORP SYSTEM .
             306 W. MAIN STREET SUITE 512
             FRANKFORT                    KY 40601


 The Commonwealth of Kentucky to the above-named Defendant(s):

 You are hereby notified that a legal action has been filed against you in this court demanding rellcfns shown on the document"
 delivered to you with summons. Unless a written defense is made by you or by an attorney on your behalf within twenty (20) days
 following the day this paper ls delivered to you, judgement by default may be taken against you for the relief demanded in the
 attached complaint,     ·

 The name(s) and address(es) of the.party or parties demanding such reliefagainst you or his/her (their) attorney(s) are shown on
 the document delivered to you with this summons.                                ·




Cl   I 7-Ct-OO 172
YOU NO. VICKIE L HOSKINS VS. CORPORATION. SMITHFIELD PARM LAN


11111111 ~1111111 lllll llll lllHll lllll Ill llllll lllll lllll lllll lllll llll II llllllllll lllll llH 1111
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                 ~   ..·
                                                  COMMONWEALTH OF KENTUCKY                                                             ,.
                                                                                                                                       I


                                                         44TH JUDICIAL CIRCUIT .. .                                            ·LERK
                                                        · BELL CIRCUIT COURT·.                                                  D.C:
                                                             CIVIL BRANCH          .
                                                  . CIVIL_ ACTION NO. 17-CI- oo/7,2_;

              VICKIE L.HOSKINS yOUNG,                                                                ·PLAINTIFF,

                                                                                                                                                 ...
              vs.                                              COMPLAINT


              SMITHFIELD FARMLAND CORPORATION, .                                                     DEFENDANT.


                           SERVE; REGiSTERED AGENT: CT CORPORATION SYSTEM                                              ·,·.
                                                    306 W. MAIN ST.
                                                    SUITE 512
                                      ...           FRANKFORT, KY . 40(iOL
.   ~
                                                                               '      .

                                                                               '···




                                                     ··PRELIMINARY STATEMENT
                                                                                                                                            .•

                           1: This ,.i$ a civil .action for gender discrimination, sexual -harassment, quid pro quo and
                               '



                             . hostile work environment based on sex, wrongful discliarge; and i:etali~tion, seeking .

                             . the recovery of equitable. and legal relief including, but not limited 'to, ·cieclaratory and
                                   •        '.            ''     '                               I            .




        '                     injun~tive
                               .        '
                                         relief,. compensatory
                                                    .          damages, pullitive daffiages,
                                                                                   .      . attorney
                                                                                             .       fees and costs·.

                              pursuant to the Kentucky Civil Right Act, KRS Chapter 344; and all applicable case

                             . law. :                 '

                                                                     PARTIES

                           2. .Vickie L. Hoskins Young (hereinafter "Young"), the Plaintiff,.is
                                                                                   . .          a na~al person. over

                              the age
                                   . of. 18 -years anC! .a citirenofthe State ofTenne$see who resides in"fazewell,
                                                                     '                                     . .

                             · Clidbor~e County, Tennessee.·
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                                                    ..
                                                                  .         .   .
                      3. Smiilifield Farmland Corporation (hereinafter "Smithfield"), the Defendant, is a

                             . foreig1J:corporation registered.With the Kentucky Secret~ .of State to.do bµsiness .in

                             Kentucky; with
                                        " -
                                            offices and operations in Bell County,
                                                                            .
                                                                                   Kentucky,
                                                                                      .. where ali events .
                             described hereip.after occurred.

                      4. The Defendant, Smithfield, is subject to the jurisdiction of this Court p~sllllllt to KRS
                                            I                 •        •                -   •   •                   •'




                             Chapier ~44, et. seq., and is an "employer'.' as defined by KRS 344.030, and is
                                                                       ..
                             prcihlbited from committing the unlawfulp~actice~ detailed in KRS 344.040, et. s.eq:

                      5, Defendant Smithfield's process agent is.CT Corporation $ystem, 306 W. Main Street,

                        .. Suite 512, Friuikfort, KY                  40601.



                                                              JURISDICTION AND VENUE
                                                                                    .               .
                . 6, :. This Court has-jurisdiction oyer the parties and·ove~ the subject matter by' virtue of

                             .· KRS
                                . Chapter
                                    -      . and .othe~ .applicable law.
                                          344,                       "
                                                                         ·.

                      1. The ~aWful hostile work environment based on sex, the quid pro quo·sexu'aI
                ·•           hara8~ment,   gender discrimination, Wl'ongful discharge, and retaliation as described
                                                '             .
                             herein
                             . - below occurred. at Defendant's
                                                        .
                                                                business operations
                                                                           .        located
                                                                                          . jn Middleslioro, Bell- ·

                              County, Kentucky, and, accordingly, this Court is the' proper place of venue. ·
     \
                      8. Tlie .Plaintiff's claims
                                                . an; not barred by the applicable
                                                         .,                    . .
                                                                                   five
                                                                                     . . (5) yeilr statute of

                             . .        . a1i wrongful
                             limitations,       . '    acts alleged herein having
                                                                            .     occurred within
                                                                                           '
                                                                                                  5 years from ..
                                                                                                        -
                                                                                                               the .

                             date of filing of this. Complaint..




                                                                                                            , ...
I   Exhibit 1        I ·.·
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                                                COUNT I

       9.     The Plaintiff, Vickie L. Hoskins Young, (hereinafter referred to· as' Yonng) was hired

             by Defendant, Smithfield, in Middlesboro, Kenfucky; in October, 2009, originally to

             work on the .line in the packing department.

       l 0. In 2010, Young's position and duties in her employment with Smithfield changed and

            · she was approved to be a Clerk in the Maintenance Shop, where she worked With

             primarily male co-workers until her wrongful discharge in 201"5.

       11. During the h1St year ofp.er employment with Smithfield, while supervised by Joan.ie ·

            . Bloomer, an authorized agent and representative of Smithfield, Young was subjected

             to a pattern and practice of gender discrimination in the terms,
                                                                           .  conditions and::·.·...
                                                              \
             privileges of employment as compared to similarly situate.CJ male employees, who were

            ·treated more favorably, including.but-not limited to the following:

             a.     Young received less favorable an~ disparate treatment with respect :to allocation of

                   vacation time.and vacation tim~ requests as c~mpared to similarly situated male

                   employees; ·

             b. Young recei~ed excessive and inappropriate criticism of he; work'as compared

                  · with similarly situated male employees.

             c. Young received reprimands for staying over her .work shifts when slie had been'·

                  . asked by a supervisor to do so, but simi.larly situated mai~ employees stayed over ··

                   their work shifts without reprimand.

             d. Young received reprimands for allegedly·making mistakes that male emplOyees

                   made without reprimand. ·

             e. '\;'oung received.reprimands for mistakes that were found not to have occurred.
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                                                                                                                                                                                  '   ''

                  •,'                                               /



                                                                                                                                                                                      ·,

                                 f. Young was forced to work a sw4J.g shift schedule which provided only five (5)
                                                  •                     •             •             •                •            ·-                    4       .




                                          . hours' 'betweeitshifts,
                                                          ' •'., .
                                                                    which caused her to work excessive hours without
                                                                                                                  . sufficient
                                                                                                                         .                              .
                                           rest, despite her already burdensome schedule,· when simiiarly situated 'male

                                           employees were
                                                      '
                                                          not. required to. do so.

                                 g. Male employees slept on the job and stood arolind outside the buHding,.smoking ..

                                           while on the job for long' periods, with no consequences, however, an alie_satioti of

                                      :.. "stealing company time" was fabricated against young as grounds for her . '

                                           termination. ·.

                    ... ...h,
                        .   -
                                           Sexually offerisiv:e co=ents and behavior directed at Young by male employees

                                          . ~ere allowea'tQ continue with.out appropriate .investigation and/or remedial

                                          ·. corrective action.

                        12 .. The conduct                     of supervisor, Joanie Blooirier, as set forfu.herein,·was.known or should
                                 have been.known to Smithfield, its officers, directors and managers, including                                                              .'

                                 Smithfield's Hi$an Resource office. De~pite said knowledge, Smithfield f~led to

                                 implement any preventive measures, andior undertake' any corrective ti! remedial
                                                                                                        '   .,
                                 measures to address Bloomer's conduct                                                                                                  ·'
                        13. On April 7, 2015, Young niade a: complail)t to the Smithfield Human Resources Office·
                                                                                                    .
                                 .                             'I               •••                         ,    •       '                      .

                                                      .                                   ·.   \,
                                                                                                                             '-        ..
                                 regarding
                                  . . '
                                           the gender discrimination, and advised Smithfield
                                                                                        . . Human
                                                                                             ..   Resources
                                                                                                       '
                                                                                                            that she                                                -




                                             . file. a complaint with the Eqwil Employmel1t
                                . - intended to                             -            . Opportunity Commfasion
                                                                                                            .                               \       -       '




                                 regarding the 9isC!'iminatio11...

                        14. Following Young's· complaints of various forms of gender discrimination, Smithfield .                                                                      · ·
....,.,   '
                                     terminated Young on May 4, 2015, which was a11 unlawful termination in violation.of ...

                                     KRS Chapter .344.




                                          ·,
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                                                           .                        ..
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                                                                                                   '.
                                                                                         '-   ..

                 15. Smithfield; by and thrbugbits authorized agent(s) and representative(s),
                                '                                                   .    .    created;
                                                                                                    .
                           condoned
                                .
                                    and. .fo.stered a hostile wcirk environment
                                                                       .        based on gender
                                                                                             . 'which

                   · substantially affected Young's physicai and psychological ·well-being and caused her

                           to suffer significant physic;u and mental pain and emotional stress, pain.ll!ld suffering.
                                              . ..
                                                                                                                                           .       \
                 16. Smithfield., by and through its authorized agent(s) and representative(s); subjected
                           Youn~ t~ gender.dis~rimiitation in the terms, ~onditions and p~vileges of employment.

             .
                 1,7, As a direct arid proximate result of the
                             : . - '                       . acts and failures to act referenced
                                                                                       .
                                                                                                 above, the
'··
                  · Plaintiff has suffered
                                       '
                                           and
                                            .
                                               Will- suffer in the future damages
                                                                             .
                                                                                  including,
                                                                                         -   '
                                                                                               without                                                           )

                  .. limitation, loss of income, lost wages, permanent in:ipairment of her poV.:er to earn
                            •                                    •              1                                              •




                           money, medical expenses, future medical expenses, loss of fringe and other benefits
                                    . "
                   · including h~aith ins~ance benefits; retirement benefits and contributions to her Social

                           Security jpnd, pain !llld suffering both past .and future; mental distress; humiliation and
                                                                                                                                   .   \
                           embarrassment, extreme emotionlll distress, as V.:en as legal fee's and cos~ incurred, all
                       I
                       I            I',   •          '   .   '          ,                 •             -

                           of which are in excess. of the m,inimal jurisdictional limits of this Court.



                                                                     COUNT II                               .~   '•   ..   .
                                                                                                                                               "
                 18. Plaintiff Young hereby adopts and.iI\corporates by refer.ence, the same as'ifset'forth at

                   '
                           length,
                             .
                                   the averments, contained in paragraphs 1 through
                                                                              .     17, inclusive,. of. Young's
                                                                                                           .


                           Complaint herein.

                 19. During her employment in the Maintenance Shop, the Defendant, Smithfield, created,
                                                                                             ' Yoting to sexual
                           promoted, and alfo.wed to exist a working enyironment that subjected.                                                                     -,
                                                                                                                                                       ..   ~·


                    ·harassment and created a hostile. and offensive work environment Yoting was·

                           subjected to a severe and pervasive gender-based hostile work environment in which
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                  .she was repeatedly subjected to offensive ~erbal and physical conduct of a sexual·

                   nature which was directed at her by Smithfield riianagers and co-workers. The conduct

                   included, but is not limited to, the folloWing:

                   a.    Comments such a~, "I will eat the lining out of that pussy.".
                                           I                                 ,

                  · b. ·Male employye(s) walking up behind Young and pressing groin area against the

                        back of her body on her buttocks as tight as possible.

                   c. Male e111ployee(s) holding pants tight against his leg .with his penis hanging down

                        his leg so that the size and shape of his penis was displayed, and saying, ·~you see ·

                        that? I got a horse's dick. It would.tear you up."

                   d. Comments such as, ,;You got to stop wall<lng up and down the stairs.' We ~an't

                         work down here.for watching you."

                  . e. Reque8ts to see Young's breasts.

                   f. Male' employee(s) leaning head against the chest of Young and make suck!ng

                         sounds.

                  · g. Male employee(s) trying to Iookdown·her shirt and saying, "Come on, Let me see.

                        · them and suck on it." · · .

                   h. In 2013~ 2015, there was on one rnstrooi:n in the Maintenance Shop. A lock was

                    ·. installed when Young began working in the Maintenance Shop. Young always·

                         knocked loudly to make sure the restroom was clear. However, some men would

                         not lock the door, nor would they·answer when Young knocked. Therefore, men.
                            .    .                                               .-

                         exposed themselves to her, saying,""Did you see that big hog?· You know you
... '
                         wanted to. see that."                                                                   ...
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                          ...
                 . Male     employee
            i.
                      .           . holding
                                      .     penis ip. hls. hand, commenting,
                                                                    . ·. .  '
                                                                              "Suck this. like you. are that

                 candy cane." ·.

        70.. Yorlng did not ' approv~ ofthis
                                         . .
                                             work place conduct
                                                         '  ,·
                                                                and repeatedly
                                                                           .
                                                                               stated. that she ciid

            Iiotwl!llt.to hear about sex~ activities, or sexually offensive and gender demeaning

            comments and ()Onduct.

        21. The sexUat harassment and gender-based hostile work ·environment, :3!J set forth he~pin,

            was known or should ji.ave.·be1m known to· Smithfield, its ~fficers, directors and·

            mmagfils,. including Smithfleld's
                  '                         '
                                               Human Resource office. Despite said.krio~ledge,
                                                                            •
            Smithfield failed t<;i implement any preventive measures, and/or uticier:iake.any

          . corr~ctive or remedial measures'·to address such ~onduct

        22. Smithfield, by and through its authorized agent(s) and representative(s), created,

            cond~neci 'and fostered a hos:tile work environment based on .gender whlch '. .
            substantially affected Young's physical and psychological well-being and caused her .
                                                                                                       •"
    "                                                                                                                 . : ''
            tci suffer significant physical and mental pain, emotional stress, pain and suffering.
                                                                                            · .. · .
        .23. Smithfield, by and through its authori~d agent(s) and representative(s), subjected

         .~ y. oung·to gender
                         .    discrimination
                               .             in the terms, conditions and privileges of employni:ent
                                                                                                  .'

        24: As. a direct and proxiinate result of the acts and failures to·act referenced above, the

            Plaintiff has suffered and will suffer in the. future damages including, with9ut
                     " fo.ss·of income; lost wages, permanent impairm~nt of her power to earn · · ·
            limitation,

            money, medical expenses,. future medical expenses,
                                                          .    loss of ftinge..and other ]?eriefitq·
                                                                                           .
                                                                                                  .         '


            including health insurance benefits, retir~ment benefits and ~ntributionll to her· Social ·          ·•
                                                                                                                  4


                                                                                                            ,,
            Security fund, pain and sufferi~g both past and future, mental distress! humiliation and ·
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               embarrassment, extren1e emotional distress, as we!f as legal fees and costs incurred, all .
                         .                 '                    "                                    '

               ofwhkh are in excess ofthe ininimaljiirisdictional limits of this Court.



                                                        COUNT III
                                             ....
        2S. Piaintiff Young hereby. adopts ~d i~corporat6s by refer~ce, the same as if set forth at

               length, the avennents contai11ed in paragraphs. 1through24, inclusive, of Young's
                                                                                             .
                                                                                                        ~··   ..
                                                    .   \.
          . Complaiµt herein.

        26. While Young was employed in the Maintenance Shop at Smithfield, one of Young's··

               supervisors was Daniel Leach (hereinafter "Leach"), who work'ed as Mechanic

               Supervisor and Maintenance Manager at Smithfield.                                                   . ..

        27.Duringtheiast app;oxinlately two (2) years of Young's employment with Smithfield,
           .           '
               Leach, as authorized agent ancf representative of Smithfield, subjected Young to quid

               pro quo sexual harassment in which Leach made unwanted sexual advances to Young:.
                                                                                                                          '·
       ·28. Leach made unwant~d sexual advan~es to Young including, but not liinited to, the.

               following: .
                   '       l
                                                             '
               a: Leach asked Yoiing to meet him at a motel for the purpose ·of having sex with

                   Leach..

               b. Leach asked Young repeatedly, "Wheri are we going to hav:e sex?"

               c. Leach asked Young repeatedly, "Why don'.t you meet me at the motel'i"

               d. · Leach asked YOUil,g, "Did you dream about me eatin~ your pussy? Did you dream~

                   about sucking my dick?"
                  ·"            '       'L




               e. Leaph asked Yolffig, "Let me see your boobs.. Wheri I look at you I want to look at

                   your tittles."
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                         · f. . Leach put his body
                                               .   on
                                                   . Young when: Young
                                                                 .     was bent over.
                                                                                  .                                      '   .'

                     29. Leach made clear.to Yoilng that certain job benefits.were conditioned on Yoimg's

                          · m;ceptance of Leach's ;e}l'.ual advanc~s. Leach ~ade th~ following-offers to Yo~g in..

                            return for Young's satisfaction· ofhis sexual c\emands:
                                                                                                            .. '
                            a.- Leach stated. that if Young had sex with him, Young could go on day shift. ·
                                                             ....
                            b. ·Leach stated that if Young_ had sex.wl.th him, Young could have a raise..

                         , c·. · Leach .sta~ed. that. if Young had sex. With him, Young could become his s~c~etary.
                                                                                      -                     .       ..                             ~ "
                     30. :At the._time of the conduct described herein, Leach was a su~yrvisor and agent for
                                                                        '•
                          · Sniithfield.
                                                                                                                                  -''. ~   .
                     31.
                      '  .Yoiliig.repeatedly advised Leach !hat she did not want to hear
                                                  '                                   . these sexual demands .                        "
             .'
                            and.
                             .
                                 pominents anc\ wocld he., plerui~ stop his workplace behavior. Neverthele~s, Leach
                                 .  •.




                         . persisted in his sexual demands and sexually offensive com.tnents and_ conduct
                                             '.
                    · 32.'Yoting
                             .•
                                   r~mained   in.her
                                                  '
                                                     position
                                                       .
                                                              out. ' of' econonii.c.n!ltld
                                                                              ·,
                                                                                           and fear. ofretaliation
                                                                                                       '
                                                                                                                  .
                                  " .
                     . 33. Young cqmplahied.to hef°supetvisor, Joanie Bloomer, about Leach~ but Bloomer took ·
                     '   ·...   '             '       '·.·          .        ·.   .       .   .        '           '


                            no acti()n.
                     34. Leach's cond~ct; as set forth herein, was known or should hav~ been known-to ·

                            Smithfield, its officers, directors and managers. Despite said jrnowledge, Smithfield,
                                                                                                                                                           .A.

                            failed to implement any preventive measures; and/or to undertake any, corr~ctive or

                            remedial measurps to address.Leach's eonduct.                                                                          '

                    .. .35. Smithfield, by and thfough its authorized
                                                                . . agents and representatives, subjected
                                                                                                   - '
                                                                                                          Yo~g
                            to gender
                                .
                                      discrimination
                                                 .
                                                     in the
                                                         .,
                                                            term~, conditions,
                                                                   .      . .
                                                                               and privileges.
                                                                                               or" employment.
                                                                                                     .        .. ...
                                                                                         .                 '
                                                                                                                                               '       "
                     36, Youi1g's employment With Smithfield was Wi:ongfully terminated on May 4, 2015.




·. / Exhibit 1 ,.
                                         ·>
                   ...
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                                                            .,;· .




        37. As a direct and:proximate result of the m;ts       and failures to act'referenced above, the:
           .Plaintiff has' suffered an\! will sllffer in the future damages including, without
                 I
            limitatio~, loss .of income, lost wages, p~rmanent impairment 'of her· power to earn .

            money, medical expenses, future medical expenses, _loss of fringe ahd other benefits,

            inCluding health insurance benefits, retir()ment benefits and contributi~ns to her Social

          · Security fund, pain:and suffering, mental distress, humiliation_ and embarrassment;

         :. extreme emotional distress, as well as legal fees and costs incilrred, ~l of which are in
                              . '
         · .· excess of the minimal jurisdictional lifilits of this Court.



                                                         'COUNT IV

        38. 'Plaintiff
                 .     Young adopts,
                               .     reiterates, and incorporates
                                                       .        '
                                                                  by reference.the averments

            conta!rieci in para~aphs 1~37, inclusive, of Young'~ Coinplaint herein.

        39. Ori A"3ril 7, 2015, Yo'ung inade a verbal complaint of discrirclnation/harassment.with . ·

            Smithfield's Buman Res<;>urces Office.

      · . 40.. On' April 7, 2015,
                             ' . .
                                   Yol)Ilg
                                    . .
                                           told Edith Kelley,
                                                         .
                                                              the Human. Resources Manager at

           · Smithfield, that Young was filing charges with the Equal ~mployment Opportunity

           . Commission about ihe discriminatory treatment she was receiving at Smithfield.
             •                   • • •• •       ..   •    •          •     •                       •   r   • .

        Al.On Aprff8, 2015, Young_submjtted to Edith Kelley a complaint in writing regarding .

            the discriminatory treatment she was receiving from Joaille Bloomer.. .
                            .,.
                 .       .       .          .                                               j
        42. ·.Young
                ,. .
                     brought. to that
                                   ' April
                                      . '
                                           8, 2015, meeting with Kelley a copy of Smithfield's hand .
                     .       .
            book policy on discri~naticin!h'arassment.

                         ·.'··                                                                                   .   '·.·.
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           .                 ~    .·                  .     .                    .       ...
         '43. On April 8, 2015, Kelley a!Jked Young to please let Kelley handle the complaint and

                for Young to write 'up a st11temerit with all of her supervisor's behaviors 'with dates atid '
                 "   '                                                                                             ./
                witnesses.

         44.' Young complied with Kelley's request, providing a typed ·statement describing

               ·aloomer'~ discriminating behavior on April 16, 2015 .

        . 45. Eighteen (18) days later, on May 4, 2015, Young was called to Human Resources

                Office by Kelley .

        . 46. In that meeting ofMay-4, 2015,.Kelley ackilowledgedthat some of Bloomer's actions

                in supervising Youhg were inappropriate.

         47. On May 4, 2015, Kelley informed Young that Young was beingtermlnated for                            ....

               · "st~aling company time."
 J


        ·. 48. Young wa~ unla'wfully termbated in retaliation fo~ her complaints to fue Smithfield "
.·:.
                Human Resources Office regarding the.gender discrimination and hostile work ·

                environment to which she was subjected at Smithfield.

         . 49. Young was unlawfully terminated in retaliation for her threat to the Smithfield Human
                                                                            .        .
                Resources qffice that she intended to· file a complaiijt with the..EEOC regarding the ·

               · gender discrimination and hostile work enviro~ent that she was. subj~cted at

                Smithfield..

         50.. : Young had .a reas9nable and
                                        . . good faith belief that she had been djscriminated
                                                                                 .            aghlnst
                                                                                                   .
              .. .
           . .on the basis of her gender:

         51. young exerciSed her right appropriately to speak. out against such discrimination by

               :making a charge at the ·Smithfield Human Resources Office and filing a complaint with ·

                the EEOC, all of which is protected activity, .
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          S2. :After only.twenty. .seven
                                      . (27) days from the. date
                                                            -    of Young's initial complaint
                                                                             '         .      of
              .                                                      .           .                                      .
          ·. · discriininilti~n to Smithfield's Hlllllan Resource office, Smithfield fi~ed Y9ung.
                  '   .   .       .           .     .                                  .   '            '   .   .           .                '   .
         . 53. Smithfield1s proffered non-retaliatory reason°for Young's termination, that is, tlie ·.

                  ''.stealing of company fone1' is pre-textual ..

          54. The Division
                       .
                           ofU~employment
                              . ' .       Insurance found that
                                                           . Young did not knowingly violate

             ·a
             .                                                   .
                reasonable and.uniformly enf9rced rule of the employer. The Division of
                                                                                                                                                               '   .. '   '.
                  Unemplo:Yment
                     '
                                Insurance
                                   ..     found that Young's dis~harge was for reasons
                                                                                   .
                                                                                       other ·thari.

                  misconduct ~onnected With the work.

        · .·. 55.
               .
                  As a .result of her rep.oq$. and!or
                                                .     complaints of gender discrimination, .Smithfield,
                                                                                              .         by

                  and through its .authorized agents .and representatives,retaliated
                                                                           .         against Young by               '
                                                                                                                                                                           J.

                  termiJ?ating her employment in May, 2015.

.   '     56. As a direct and proximate res.ult of the acts and failures to act referenc!ld above,. the

                  ~laintiffhas
                  ·.        .                     suff~red and will suffer. in the future
                                                                 '                     . datriages'. mciuding,. without
                                                                                                                   '
                                                                                                                        .

             · limitation, loss ofin~ome; lost wages, permanent impairment <ifherpowe~ to earn                                                           · ·
                                                                                               ;·   .
             · money , meilical ·expenses, future medical expenses, loss .of fringe and other benefi~

                  including health insurance benefits, retirem~nt benefits and. contributions to her .Social

                  Security fund, pain and suffering both past and future, mental distress, humiliation and
                                                                                                                                                                   ..     -·
           . .. embarrassment,
                ..             extreme emotional dish-ess, as well .as legal fees and .costS incurred, all                                           '

                              .       '   ~               .. .           .           . .                                        .,

             .of which are
                        . in. excess' 'of
                                       .
                                          the minimal jurisdictional
                                                            '
                                                                     limits of this                                         Court..




                                                                                                                                     "   .
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                          .,   '




                                        REQUEST FOR: RELIEF

               · . WHEREFORE, the Plaintiff, Vickie L Hoskins Young, respeetfully requests
                                            .                                               \


            this Court:                                                                                        ·   ..·

                  1. . T1i enter a monetary
                                    .                                                              .
                                            judgment in her favor against the Defendant for her loss

                     'of income, !Ost wages, permanent impairment of her power to earn money,

                     .medicfil expenses, fiituren1edical expenses, loss of ~nge and other benefits .

                     · includir).g health insurance' benefits, retirement benefits and contributions to
                                                                                                          ).
                             . Security. fund, pait~ and sufferlng both past and future, inent~
                      her Social

                    · distress, humiliation and embarrassment, extreme emotionfil diStress; for her

                      out of pocket expenses; for her compensatory damages; punitive daniages,

                      with the total amount of damages being in excess of the mininlum dollar

                      ll!llOuilt needed to establish the jurisdiction of this Court;

                  2: · To award her
                                I
                                    court costs in the amount-she has expended
                                                                       .
                                                                               herein to prosecute

                      this action;

                  J .. 'ro awai:d·herreasonable attorney's fees at the Defendant's expens~ with the

                     . total amount of)ier attorney's fees being iii excess of the mininiUm amount

                      needed to establish the juri.sdiCtion of this Court;

                · 4. To grant her a trial b~ jury on ~II issue's. ~o triable;

                  5. Enter a declaratory
                                   '
                                         j.udgment
                                            .
                                                   declaring
                                                     :
                                                             that the
                                                                  . D.efendiint's actions .were in

                      violation ofKRS Chapter 344 and applicable c.ase ;aw; .. · · .

                  6. B.nter an injunction against the Defendant Smithfield to prohibit Defendant
                          .. ·.
                     . from engaging in further discriminatory and/or retaliatory practices;
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                                                                                                                  .. ",
....



                          7 ..   ~wardPlaintiffY~:mg
                                         .           prejudgment interest ~t the legal ~t~ and
                                                                                            .. int~resf6!1.          .    '
                            · any juctgriienthereiti at the judgment rate pursuant to K.~ntuc~y /~w; and\
                                                                                      .   .       .                  .
                          8. To award her ali other teliefto which she app~ ~ntitled and w!tlch the law
                                 '   •    '       '               I             ,                         '   '                       '     •               •       '




                            · demands fron;i this Defendant. ··
       ,.
                                                                                                                                                                                                          .·,
                                                                                                                                                   ·'   .
                                                                               ·. Respectfully submitted,
                                                                      ~   ..                                                                                                    .    ·.         '    '
                                                                                                                                                                                                '\
                                                                                                                                                                                                     .         ,.:   '




                                                                                   a e Law ffices
                  ,;·                                                            1914 Cumberland Avenue.
                                                                               · P: 0. Box 248                                                                                      ..    '.·

                                                                                 Middlesboro, KY · 40965
                                                                               · (606) 248-2144. (office)·
                                                                               . (606) 248-2774. (FAX)·•
                                                                                                      .

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                                                                                                                                                                                                     "· .
